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 1                                                             JUDGE RICHARD A. JONES
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 5
                             UNITED STATES DISTRICT COURT
 6
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8
     UNITED STATES OF AMERICA,                     )   No. CR14-165-RAJ
 9                                                 )
                    Plaintiff,                     )
10                                                 )   ORDER GRANTING UNOPPOSED
               v.                                  )   MOTION TO AMEND JUDGMENT
11                                                 )   FOR DEFENDANT KEVIN KOGAN
     KEVIN C. KOGAN,                               )
12                                                 )
                    Defendant.                     )
13                                                 )
14
15          THIS MATTER has come before the undersigned on the unopposed motion of

16   Defendant Kevin C. Kogan to amend his Judgment. The Court has considered the

17   motion and records in this case, finds there are compelling reasons to recommend that

18   the facility to which Mr. Kogan is designated be FPC Bastrop, or in the alternative,

19   another camp facility within the State of Texas, and therefore GRANTS the motion

20   (Dkt. #302). The Amended Judgment shall include the following language:

21          In light of the fact that Defendant, Kevin Kogan, is apparently a camp-
            eligible inmate, the Court recommends designation to FPC Bastrop or
22
            other camp facility within the state of Texas and nearest to his release
23          residence instead of FPC Pollock, Louisiana, in order to facilitate
            visitation by his very close and supportive family, including his minor
24          children, and elderly and infirm stepfather.
25
26

      ORDER GRANTING UNOPPOSED MOTION TO                         FEDERAL PUBLIC DEFENDER
      AMEND JUDGMENT FOR DEFENDANT KEVIN                            1601 Fifth Avenue, Suite 700
      KOGAN                                                           Seattle, Washington 98101
      (U.S. v. Kevin C. Kogan; CR14-165-RAJ) - 1                                 (206) 553-1100
           Case 2:14-cr-00165-RAJ        Document 303        Filed 07/26/16    Page 2 of 2




 1          IT IS ORDERED that Mr. Kogan’s Judgment be amended to reflect that the
 2   Court recommends that Mr. Kogan be designated to FPC Bastrop, or in the alternative,
 3   another camp facility within the State of Texas.
 4          DATED this 26th day of July, 2016.
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                                                        A
                                                        The Honorable Richard A. Jones
 7                                                      United States District Judge
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      ORDER GRANTING UNOPPOSED MOTION TO                          FEDERAL PUBLIC DEFENDER
      AMEND JUDGMENT FOR DEFENDANT KEVIN                             1601 Fifth Avenue, Suite 700
      KOGAN                                                            Seattle, Washington 98101
      (U.S. v. Kevin C. Kogan; CR14-165-RAJ) - 2                                  (206) 553-1100
